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COUNSEL FOR DEBTORS
AND DEBTORS-IN-POSSESSION

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
In re: § Chapter 11
§
WILLIAMS FINANCIAL § Case No. 17-33578-HDH
GROUP, INC., et al. §
§ (Jointly Administered)
Debtors. §

DEBTORS’ AMENDED JOINT PLAN OF LIQUIDATION
UNDER CHAPTER 11 OF THE UNITED STATES BANKRUPTCY CODE

Dated as of March 21, 2018

 

' The Debtors in these cases, along with the last four digits of each Debtor's federal tax identification number, are:
Williams Financial Group, Inc. (8972); WFG Management Services, Inc. (7450); WFG Investments, Inc. (7860) and
WEG Advisors, LP (9863). The address for all the Debtors is 2711 N. Haskell Ave., Suite 2900, Dallas, TX 75204.

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ARTICLE 1
INTRODUCTION

WILLIAMS FINANCIAL GROUP, INC., WFG MANAGEMENT SERVICES, INC.;
WFG INVESTMENTS, INC., AND WFG ADVISORS, LP (“Debtor” or the “Debtors”) hereby
propose the following Plan of Liquidation Under Chapter 11 of the United States Bankruptcy Code
(the “Plan”) for the liquidation of the Debtors and the resolution of the outstanding Claims against
the Debtors, and requests Confirmation of the Plan pursuant to Section 1129 of the Bankruptcy
Code. The Debtors are the proponent of the Plan within the meaning of Section 1129 of the
Bankruptcy Code. Capitalized terms used in the Plan shall have the meanings ascribed to such
terms in Article 2,1 of the Plan or as otherwise defined herein.

Under Section 1125(b) of the Bankruptcy Code, a vote to accept or reject the Plan cannot
be solicited from the Holder of a Claim until such time as the Debtors’ Disclosure Statement (the
“Disclosure Statement”) has been approved by the Bankruptcy Court and distributed to Holders
of Claims. The Disclosure Statement was conditionally approved by the Bankruptcy Court through
the entry of the Disclosure Statement Approval Order and has been distributed simultaneously
with the Plan to all parties whose votes are being solicited. The Disclosure Statement contains,
among other things, (a) a discussion of the Debtors’ history, businesses, assets, and operations, (b)
a summary of significant events which have occurred to date in this case, (c) a summary of the
means of implementing and funding the Plan, and (d) the procedures for voting on the Plan. No
materials, other than the accompanying Disclosure Statement and any exhibits and schedules and
documents attached thereto or referenced therein, have been approved by the Debtors for use in
soliciting acceptances or rejections of the Plan. ALL HOLDERS OF CLAIMS AGAINST THE
DEBTORS ENTITLED TO VOTE ON THE PLAN ARE ENCOURAGED TO READ THE
PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO
ACCEPT OR REJECT THE PLAN.

Subject to certain restrictions and requirements set forth in Section 1127 of the Bankruptcy
Code and Bankruptcy Rule 3019, and those restrictions or modifications set forth in Article 14 of
the Plan, the Debtors expressly reserve the right to alter, amend, modify, revoke or withdraw the
Plan, one or more times, prior to the Plan's substantial consummation.

THE PLAN AND THE DISCLOSURE STATEMENT HAVE NOT BEEN REQUIRED
TO BE PREPARED IN ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS
OR OTHER APPLICABLE NON-BANKRUPTCY LAW. PERSONS OR ENTITIES SHOULD
EVALUATE THE PLAN AND THE DISCLOSURE STATEMENT IN LIGHT OF THE
PURPOSES FOR WHICH THEY WERE PREPARED.

SUMMARY AND OVERVIEW OF THE PLAN?

The Plan provides a mechanism for the expeditious and orderly collection of assets, the
resolution of disputed claims, and the distribution of funds to creditors, including distributions in
the form of interim installments to the extent such distributions are determined to be advisable by

 

2 The entire Plan and the accompanying Disclosure Statement contain important information that should be read in
addition to this Summary and Overview.

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the Liquidating Trustee. The Debtors’ secured creditors will be paid in full, as will any allowed
priority, administrative or fee claims.

The Plan recognizes that some of the Debtors’ unsecured creditors have claims which are
invariably either disputed or unliquidated, or both.

The Plan provides for a professional claims resolution arbitrator in order to quickly and
efficiently determine the amount of the Debtors’ securities arbitration and litigation claims that
will be allowed. The Plan contemplates that the Court will appoint one or possibly two Liquidating
Trustees to administer the assets of each of Debtor’s estates and make distribution to creditors.

ARTICLE 2
DEFINED TERMS; RULES OF CONSTRUCTION

2.1 Defined Terms.

2.1.1 As used in the Plan, the following terms shall have the meanings set forth
below:

“Administrative Expense” means (a) any cost or expense of administration of the
Liquidating Cases that is allowed under Section 503(b) or 507(a)(1) of the Bankruptcy Code, to
the extent the party claiming any such Administrative Expense files an application, motion, request
or other Bankruptcy Court-approved pleading seeking such expense in the Liquidating Cases on
or before the applicable Administrative Claims Bar Date, including (i) any actual and necessary
costs and expenses of preserving the Estates or liquidating the businesses of the Debtors (including
wages, salaries, or commissions for services rendered) incurred on or after the Petition Date, (ii)
any Postpetition cost, indebtedness or contractual obligation duly and validly incurred or assumed
by the Debtor in Possession, (iii) any Claim granted administrative priority status by a Final Order
of the Bankruptcy Court, (iv) any Claim by a Governmental Authority for taxes (and for interest
and/or penalties related to such taxes) due for any Postpetition tax year or period, and (v)
compensation for reimbursement of expenses of Professionals awarded or allowed pursuant to an
order of the Bankruptcy Court under Section 330(a) or 331 of the Bankruptcy Code; (b) any
Superpriority Claim; (c) all fees and charges assessed against the Estates under Chapter 123 of title
28, United States Code, 28 U.S.C. §§ 1911-1930; and (d) any and all other costs or expenses of
administration of the Liquidating Cases that are allowed by Final Order of the Bankruptcy Court;
provided, however, that, when used in the Plan, the term “Administrative Expense” shall not
include any Disallowed Claim, or, unless otherwise expressly provided in the Plan, any of the
Claims in Classes 1 through 5. In no event shall any Claim set out in a Proof of Claim be deemed
to be an Administrative Expense (except for any Claim by a Governmental Authority for taxes
(and for interest and/or penalties related to such taxes) due for any Postpetition tax year or period),

“Administrative Expense Claim” means any Claim for the payment of an Administrative
Expense.

“Administrative Claims Bar Date” means first business day that is thirty (30) days after
the Effective Date as established by an order or orders of the Bankruptcy Court as the deadline for
the filing by any Creditor or other party in interest of an application, motion, request or other
Bankruptcy Court-approved pleading for allowance of any Administrative Expense Claim that

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arose or is deemed to have arisen on or after the Petition Date. Holders of Administrative Expense
Claims (including Holders of any Claims for Postpetition federal, state or local taxes) that do not
file an application, motion, request or other Bankruptcy Court-approved pleading by the
Administrative Claims Bar Date shall be forever barred, estopped and enjoined from ever asserting
such Administrative Expense Claims against the Debtor, or any of its Properties, or against the
Estate, and such Holders shall not be entitled to participate in any distribution under the Plan on
account of any such Administrative Expense Claims.

“Affiliate” has the meaning ascribed to such term in Section 101(2) of the Bankruptcy
Code.

“Allowed Amount” means the dollar amount in which a Claim is allowed.

“Allowed Claim” means a Claim or that portion of a Claim which is not a Disputed Claim
or a Disallowed Claim and (a) as to which a Proof of Claim was filed with the Clerk's Office on
or before the Bar Date, or, by order of the Bankruptcy Court, was not required to be filed, or (b)
as to which no Proof of Claim was filed with the Clerk's Office on or before the Bar Date, but
which has been or hereafter is listed by the Debtor in its Schedules as liquidated in amount and not
disputed or contingent, and, in the case of subparagraph (a) or (b) above, as to which either (i) no
objection to the allowance thereof has been filed within the time allowed for the making of
objections as fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules or the Bankruptcy
Court, or (ii) any objection as to its allowance has been settled or withdrawn or has been denied
by a Final Order. “Allowed Claim” shall also include a Claim that is allowed by the Bankruptcy
Court (a) in any contract, instrument or other agreement or document entered into in connection
with the Plan; (b) in a Final Order; or (c) pursuant to the terms of the Plan. “Allowed,” when used
as an adjective herein (such as Allowed Administrative Expense Claim, Allowed Priority Claim,
Allowed Secured Claim, and Allowed Unsecured Claim), has a corresponding meaning.

“Allowed Class ... Claim” means an Allowed Claim in the particular Class described.

“Assets” means all Property of the Debtors and their Estates of any nature whatsoever as
of the Effective Date, including but not limited to all accounts receivable, assumed contracts, Cash,
and the Causes of Action.

“Ballot” means the ballot(s) accompanying the Disclosure Statement upon which Holders
of Impaired Claims entitled to vote on the Plan shall indicate their acceptance or rejection of the
Plan in accordance with the Voting Instructions.

“Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.,
as in effect on the Petition Date, together with all amendments and modifications thereto that were
subsequently made applicable to the Liquidating Cases.

“Bankruptcy Court” means the United States Bankruptcy Court for the Northern District
of Texas, Dallas Division, or, as the context requires, any other court of competent jurisdiction
exercising jurisdiction over the Liquidating Cases.

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“Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and the Local
Rules, as in effect on the Petition Date, together with all amendments and modifications thereto
that were subsequently made applicable to the Liquidating Cases.

“Bar Date” means the bar date(s) established by the Bankruptcy Court from time to time
as the last day for filing Proofs of Claim against or proofs of Equity Interest in the Debtors,
including with respect to executory contracts and unexpired leases that are rejected pursuant to the
Plan, pursuant to a Final Order of the Bankruptcy Court or otherwise pursuant to Section 365 of
the Bankruptcy Code; provided however, that, when used in the Plan, the term “Bar Date” shall
not include the Administrative Claims Bar Date.

“Business Day” means any day other than a Saturday, Sunday or “legal holiday” (as “legal
holiday” is defined in Bankruptcy Rule 9006(a)).

“Cash” means cash, cash equivalents and other readily marketable direct obligations of
the United States, as determined in accordance with generally accepted accounting principles,
including bank deposits, certificates of deposit, checks and similar items. When used in the Plan
with respect to a distribution under the Plan, the term “Cash” means lawful currency of the United
States, a certified check, a cashier's check, a wire transfer of immediately available funds from any
source, or a check drawn on a domestic bank.

“Causes of Action” means any and all of a Debtor or a Debtor’s Estate’s actions, claims,
demands, rights, defenses, counterclaims, suits, and causes of action, whether known or unknown,
in law, equity or otherwise, including: (a) all avoidance actions and rights to recover transfers
avoidable or recoverable under Sections 502, 542, 543, 544, 545, 547, 548, 549, 550, 551 and 553
of the Bankruptcy Code and (b) any and all other claims or rights of the Debtors of any value
whatsoever, at law or in equity, against any Creditor or other third party.

“Claim” has the meaning ascribed to such term in Section 101(5) of the Bankruptcy Code.
Notwithstanding anything to the contrary contained herein, when used in the Plan, the term
“Claim” shall be given the broadest possible meaning permitted by applicable law and shall
include all manner and type of claim, whenever and wherever such claim may arise, including ad
valorem tax claims, Securities-Related Claims, and claims based upon or arising under any federal
or state securities laws (including, without limitation, the Exchange Act and the Securities Act).

“Claims Resolution Arbitrator” means the person appointed as mediator and arbitrator
with respect to the Securities-Related Claims pursuant to Article 9 of the Plan. The initial Claims
Resolution Arbitrator shall be selected by the Debtors subject to the approval of the Bankruptcy
Court, and the term shall include any successor thereto appointed pursuant to the provisions of the
Plan or an order of the Bankruptcy Court.

“Claims Resolution Expenses” means any liabilities, costs, taxes or expenses of, or
imposed upon or in respect of, the Claims Resolution Process.

“Claims Resolution Process” means the process for resolving all of the Debtor's
Securities-Related Claims pursuant to Article 9 of the Plan.

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“Class” means a category of Claims or Equity Interests classified together as described in
Article 4 of the Plan.

“Clerk” means the Clerk of the Bankruptcy Court.

“Clerk's Office” means the Office of the Clerk of the Bankruptcy Court located at the
United States Bankruptcy Court, Northern District of Texas, Dallas Division, Earle Cabell Federal
Building, 1100 Commerce Street, Dallas, Texas 75242.

“Collateral” means Property in which an Estate has an interest and that secures, in whole
or part, whether by agreement, statute, or judicial decree, the payment of a Claim.

“Confirmation” or “Confirmation of the Plan” means the approval of the Plan by the
Bankruptcy Court at the Confirmation Hearing.

“Confirmation Date” means the date on which the Confirmation Order is entered on the
Docket pursuant to Bankruptcy Rule 5003(a).

“Confirmation Hearing” means the hearing which will be held before the Bankruptcy
Court to consider Confirmation of the Plan and related matters pursuant to Section 1128(a) of the
Bankruptcy Code, as such hearing may be adjourned or continued from time to time.

“Confirmation Order” means the order of the Bankruptcy Court in the Liquidating Cases
confirming the Plan pursuant to Section 1129 and other applicable sections of the Bankruptcy
Code.

“Creditor” means the Holder of a Claim, within the meaning of Section 101(10) of the
Bankruptcy Code, including Creditors with Administrative Expenses, Priority Claims, Secured
Claims, Securities-Related Claims, Subordinated Claims, and Unsecured Claims.

“Debt” has the meaning ascribed to such term in Section 101(12) of the Bankruptcy Code.

“Debtor” or “Debtors” means Williams Financial Group, Inc., WFG Management
Services, Inc.; WFG Investments, Inc., and WFG Advisors, LP.

“Debtor in Possession” means Williams Financial Group, Inc., WFG Management
Services, Inc.; WFG Investments, Inc., and WFG Advisors, LP, as debtor in possession in the
Liquidating Cases.

“Disallowed Claim” means any Claim which has been disallowed by an order of the
Bankruptcy Court, which order has not been stayed pending appeal.

“Disclosure Statement” means the Debtors’ Amended Disclosure Statement for the
Debtors’ Amended Joint Plan of Liquidation under Chapter 11 of the United States Bankruptcy
Code dated March 21, 2018, including all exhibits, appendices, and schedules attached thereto, as
submitted and filed by the Debtors pursuant to Section 1125 of the Bankruptcy Code in respect of
the Liquidating Cases and approved by the Bankruptcy Court in the Disclosure Statement

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Approval Order, and as such Disclosure Statement may be amended, supplemented, modified or
amended and restated from time to time.

“Disclosure Statement Approval Order” means the Order Approving the Debtors’
Disclosure Statement and Fixing Time for Filing Acceptances or Rejections of the Debtors’ Plan,
Combined with Notice of Hearing on Confirmation of Plan to be entered in the Liquidating Cases.

“Disputed Claim” means any Claim (other than a Disallowed Claim) that is not an
Allowed Claim and (a) as to which a Proof of Claim has been filed with the Clerk's Office or is
deemed filed under applicable law or order of the Bankruptcy Court, or (b) which has been
scheduled in the Schedules as disputed, contingent or unliquidated, and, in the case of
subparagraph (a) or (b) above, as to which an objection has been or may be timely filed or deemed
filed under the Plan, the Bankruptcy Code, the Bankruptcy Rules or an order of the Bankruptcy
Court and any such objection has not been (i) withdrawn, (ii) overruled or denied by an order of
the Bankruptcy Court, or (iii) sustained by an order of the Bankruptcy Court. To the extent an
objection relates to the allowance of only a part of a Claim, such Claim shall be a Disputed Claim
only to the extent of the objection.

“Disputed Claim Reserve” means the reserve account established upon Confirmation to
satisfy all Disputed Claims, to the extent that such claims become Allowed Claims pursuant to a
Final Order of the Bankruptcy Court or upon written agreement between the Liquidating Trustee
and the Claim holder.

“Distribution Date” means, excepts as otherwise provided in this Plan, the date or dates
on which the Liquidating Trustee determines to distribute of Cash to Holders of Allowed Claims.

“Docket” means the docket in the Liquidating Cases maintained by the Clerk.

“Effective Date” means, and shall occur on, the first Business Day on which all of the
conditions to the occurrence of the Effective Date contained in Article 11 of the Plan have been
satisfied or waived (as provided in Article 11 of the Plan).

“Entities Entitled to Notice” means (a) the Debtors and the Debtors’ counsel; (b) the
Liquidating Trustee and his or her counsel; (c) the United States Trustee; (d) the Claims Resolution
Arbitrator; and (e) all parties then set forth on the Master Service List.

“Entity” has the meaning ascribed to such term in Section 101(15) of the Bankruptcy
Code.

“Equity Interests” means any and all of the issued and outstanding equity interests in the
Debtors, including those held by all Holders of the common stock, any shares of preferred stock
issued by the Debtors, any treasury shares, and any and all options, warrants, convertible
debentures or similar instruments or rights (including conversion or preemptive rights) with
respect to the acquisition or ownership of shares of common stock or any preferred stock issued
by the Debtors, and any and all rights to subscribe to or convert into shares of such securities.

“Estate” or “Estates” means the estates created for the Debtors by Section 541 of the
Bankruptcy Code upon the filing of the voluntary petition by the Debtors.

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“Estimation Hearing” means a hearing for the estimation of Claims under Section 502(c)
of the Bankruptcy Code.

“Exhibit” means an exhibit annexed to the Plan or to the Disclosure Statement, as the
context requires.

“Fee Claims” means an Administrative Claim under section 330(a), 331 or 503 of the
Bankruptcy Code for compensation of a Professional or other Person for services rendered or
expenses incurred in the Chapter 11 Cases on or prior to the Effective Date.

“Final Decree Date” means the date on which a Final Order, obtained after a hearing on
notice to all Entities Entitled to Notice and such other entities as the Bankruptcy Court may direct,
has been entered determining that the Liquidating Cases should be closed.

“Final Order” means (a) an order, judgment, ruling or other decree (or any revision,
modification or amendment thereto) issued and entered by the Bankruptcy Court or by any state
or other federal court as may have jurisdiction over any proceeding in connection with the
Liquidating Cases for the purpose of such proceeding, which order, judgment, ruling or other
decree has not been reversed, vacated, stayed, modified or amended and as to which (i) no appeal,
petition for review, reargument, rehearing, reconsideration or certiorari has been taken and is
pending and the time for the filing of such appeal, petition for review, reargument, rehearing,
reconsideration or certiorari has expired, or (ii) such appeal or petition has been heard and
dismissed or resolved and the time to further appeal or petition has expired with no further appeal
or petition pending; or (b) a stipulation or other agreement entered into which has the effect of any
such aforesaid order, judgment, ruling or other decree with like finality.

“FINRA” means the Financial Industry Regulatory Association, a self-regulatory
organization of broker-dealers.

“Governmental Authority” means any agency, board, bureau, executive, court,
commission, department, legislature, tribunal, instrumentality or administration of the United
States, a foreign country or any state, or any provincial, territorial, municipal, state, local or other
governmental Entity in the United States or a foreign country.

“Holder” means (a) as to any Claim, (i) the owner or holder of such Claim as such is
reflected on the Proof of Claim filed with respect to such Claim, or (ii) if no Proof of Claim has
been filed with respect to such Claim, the owner or holder of such Claim as shown on the Schedules
or books and records of the Debtors or as otherwise determined by order of the Bankruptcy Court,
or (iii) if the owner or holder of such Claim has transferred the Claim to a third party and advised
the Debtors in writing of such transfer and provided sufficient written evidence of such transfer,
the transferee; and (b) as to any Equity Interest, the record owner or holder of such Equity Interest
as of the Petition Date as shown on the stock register that is maintained by the Debtors, or as
otherwise determined by order of the Bankruptcy Court.

“Impaired” refers to any Claim or Equity Interest that is impaired within the meaning of
Section 1124 of the Bankruptcy Code.

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“Insiders” has the meaning ascribed to it in Section 101(31) of the Bankruptcy Code.

“Insurance Coverage” means any insurance coverage under any Insurance Policy which
is available for the payment of liability or damages.

“Insurance Policy” means any insurance policy in effect at any time on or before the
Effective Date naming the Debtors (or any predecessor, subsidiary, or past or present Affiliate of
the Debtors) as an insured, or otherwise affording the Debtors (or any predecessor, subsidiary, or
past or present Affiliate of the Debtor) Insurance Coverage, upon which any claim has been or
may be made with respect to any Claim.

“Insurance Policy Buyout” means the settlement between WFGI and WFGA on the one
hand, and Certain Underwriters at Lloyd’s London of a coverage dispute pursuant to which the
Underwriters bought back the errors and omissions policy they had previously issued to WFGI
and WFGA.

“Intercompany Claims” means a Claim or a Cause of Action by a Debtor against another
Debtor or any direct or indirect subsidiary or affiliate of the Debtors; provided, for the avoidance
of doubt, shall not mean a Claim or Cause of Action by any Debtor against any former officer or
director of any Debtor.

“Liabilities” means any and all liabilities, obligations, judgments, damages, charges,
costs, Debts, and indebtedness of any and every kind and nature whatsoever, whether heretofore,
now or hereafter owing, arising, due or payable, direct or indirect, absolute or contingent,
liquidated or unliquidated, known or unknown, foreseen or unforeseen, in law, equity or otherwise,
of or relating to the Debtors or any Affiliate, subsidiary, predecessor, successor or assign thereof,
or otherwise based in whole or in part upon any act or omission, transaction, event or other
occurrence taking place prior to the Effective Date in any way relating to the Debtors or any
Affiliate, subsidiary, predecessor, successor or assign thereof, any assets of the Debtors, the
business or operations of the Debtors, the Liquidating Cases, or the Plan, including any and all
liabilities, obligations, judgments, damages, charges, costs, Debts, and indebtedness based in
whole or in part upon any Claim of or relating to successor liability, transferee liability, or other
similar theory.

“Tien” means, with respect to any asset or Property, any mortgage, pledge, security
interest, lien, right of first refusal, option or other right to acquire, assignment, charge, claim,
easement, conditional sale agreement, title retention agreement, defect in title, or other
encumbrance or hypothecation or restriction of any nature pertaining to or affecting such asset or
Property, whether voluntary or involuntary and whether arising by law, contract or otherwise.

“| iquidating Trustee” or “Liquidating Trustees” means the agent(s) appointed pursuant
to Article 8.6 of the Plan for each of the separate Liquidating Trusts as of the Effective Date to
serve in such capacity from and after that date as set forth in the Plan. The initial Liquidating
Trustee(s) shall be disclosed in the Plan Supplement, and the term shall include any successor
thereto appointed pursuant to the provisions of the Plan or an order of the Bankruptcy Court.

“Liquidating Trusts” means the trusts to be established on the Effective Date for each
Debtor’s estates. ,

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“Liquidating Trust Assets” means all Assets of the Debtors as of the Effective Date.
Each of the Liquidating Trusts shall receive the assets and causes of action particular to the
Debtor’s estate for whom the trust is formed and shall pay the claims attributable to that Debtor.

“Liquidating Trust Agreement” means the agreements with the Liquidating Trustee and
that is part of the Plan Supplement.

“Liquidating Cases” means the Cases commenced in the Bankruptcy Court by the
Debtors on the Petition Date which are jointly administered as Williams Financial Group, Inc.,
Case No, 17-33578-HDH.

“Tocal Rules” means the Local Rules of the United States Bankruptcy Court for the
Northern District of Texas, as in effect on the Petition Date, together with all amendments and
modifications thereto that were subsequently made applicable to the Liquidating Cases.

“Management” or “WFMG” means the Debtor, WFG Management Services, Inc.

“Person” means any person, individual, corporation, association, partnership, limited
liability company, joint venture, trust, organization, business, government, governmental agency
or political subdivision thereof, or any other entity or institution of any type whatsoever, including
any “person” as such term is defined in Section 101(41) of the Bankruptcy Code.

“Petition Date” means September 24, 2017, the date the petition for voluntary bankruptcy
was filed in the Liquidating Cases.

“Plan” means the Debtors’ Amended Plan of Liquidation under Chapter 11 of the United
States Bankruptcy Code dated March 20, 2018, and all Exhibits to the Plan, as the same may be
amended, supplemented, modified or amended and restated from time to time in accordance with
the provisions of the Plan and the Bankruptcy Code.

“Plan Documents” means all documents that aid in effectuating the Plan, including but
not limited to the Plan and all Exhibits to the Plan and the Plan Supplement.

“Plan Supplement” means the supplemental appendix to this Plan, to be filed no later than
fourteen (14) calendar days prior to the commencement of the Confirmation Hearing, which will
contain, among other things, draft forms or signed copies, as the case may be, of the Plan
Supplement Documents.

“Plan Supplement Documents” means the documents to be included in the Plan
Supplement, including the forms of documents to be executed, delivered and/or performed in
connection with the implementation and consummation of this Plan.

“Postpetition” means arising or accruing on or after the Petition Date and before the
Effective Date.

“Prepetition” means arising or accruing prior to the Petition Date.

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“Priority Claim” means a Claim that is entitled to a priority in payment pursuant to
subparagraphs (3) through (7) of Section 507(a) of the Bankruptcy Code and that is not an
Administrative Expense Claim, a Secured Claim, a Subordinated Claim, or an Unsecured Claim.

“Professional” means any professional employed in the Liquidating Cases with the
approval of the Bankruptcy Court pursuant to Section 327 or 1103 of the Bankruptcy Code.

“Proof of Claim” means a proof of claim filed with the Bankruptcy Court with respect to
a Debtor or the Debtors pursuant to Bankruptcy Rule 3001, 3002 or 3003.

“Property” means any property or asset of any kind, whether real, personal or mixed,
tangible or intangible, whether now existing or hereafter acquired or arising, and wherever located,
and any interest of any kind therein.

“Pro Rata Share” means, with respect to any distribution under the Plan to the Holder of
an Allowed Claim in a particular Class or otherwise, a fraction, the numerator of which shall be
the amount of such Holder's Allowed Claim and the denominator of which shall be the sum of all
Allowed Claims and all Disputed Claims in such Class and, if applicable, other Classes, all
determined as of the applicable Distribution Date.

“Rejected Contracts” has the meaning ascribed to such term in Article 7.1 of the Plan.
“Rules” means the Bankruptcy Rules.

“Schedules” means, collectively, the schedules of assets and liabilities and the statements
of financial affairs filed by the Debtors in the Liquidating Cases pursuant to Bankruptcy Rule
1007, as such schedules or statements have been or may be amended or supplemented from time
to time.

“Secured Claim” means any Claim that is (a) secured in whole or in part, as of the Petition
Date, by a Lien which is valid, perfected and enforceable under applicable law and is not subject
to avoidance under the Bankruptcy Code or applicable non-bankruptcy law, or (b) subject to setoff
under Section 553 of the Bankruptcy Code, but, with respect to both (a) and (b) above, only to the
extent of the applicable Estate's interest in the value of the Collateral securing any such Claim or
the amount subject to setoff, as the case may be. Except as otherwise provided in the Plan, if the
value of a Creditor's interest in an Estate's interest in the Collateral securing such Claim or the
amount subject to setoff is less than the amount of the Allowed Claim, then such deficiency shall
constitute an Unsecured Claim.

“Secured Creditor” means any Creditor holding a Secured Claim.
“Securities-Related Claimant” means the Holder of a Securities-Related Claim.

“Securities-Related Claim” means any Claim or demand now existing or hereafter
arising, in the nature of or sounding in tort, contract, warranty, or under any other theory of law or
equity, against a Debtor and any Affiliate of the Debtors, their predecessors, successors or assigns,
or their present or former officers, directors or employees, by a former client of the Debtors arising
out of, or related to the Debtors’ business as a registered broker dealer or as a registered investment

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advisor. Most of the Securities-Related Claims against the Debtors have been brought as
arbitrations pursuant to the rules of FINRA; however, the term “Securities-Related Claim”
includes any such Claim.

“Subordinated Claim” means any Claim that is subject to (a) subordination under section
510 of the Bankruptcy Code or any other statute, (6) contractual subordination, or (c) equitable
subordination as determined by the Bankruptcy Court in a Final Order.

“Substantial Consummation” means substantial consummation, as that term is defined
under section 1101(2) of the Bankruptcy Code.

“Superpriority Claim” means any Claim created by a Final Order of the Bankruptcy
Court providing for a priority senior to that provided in Section 507(a)(1) of the Bankruptcy Code,
including any such Claims granted under Sections 364(c)(1) and 365 of the Bankruptcy Code.

“Unimpaired” refers to a Claim that is not Impaired.

“United States Trustee” means the Office of the United States Trustee for the Northern
District of Texas.

“Unsecured Claim” means any Claim which is not an Administrative Expense Claim, Fee
Claim, Priority Claim, Subordinated Claim, or Secured Claim, including (a) any Claim arising
from the rejection of an executory contract or unexpired lease under Section 365 of the Bankruptcy
Code, (b) any portion of a Claim to the extent the value of the Creditor's interest in the applicable
Estate's interest in the Collateral securing such Claim is less than the amount of the Allowed Claim,
or to the extent that the amount of the Claim subject to setoff is less than the amount of the Allowed
Claim, as determined pursuant to Section 506(a) of the Bankruptcy Code, (c) any Claims arising
from the provision of goods or services to the Debtor prior to the Petition Date, and (d) any Claim
designated as an Unsecured Claim elsewhere in the Plan.

“Unsecured Creditor” means any Creditor holding an Unsecured Claim.

“Unsecured Distribution Amount” means after payment of all Allowed Administrative
Expense Claims, all Allowed Priority Claims, and all expenses of the Liquidating Trust for a
particular estate the following for each separate Liquidating Trust: (a) all recoveries from the
Causes of Action, net of collection costs and reasonable attorney's fees, (b) any cash remaining in
the Debtors’ bank accounts, and (c) any proceeds from the sales of the Debtors’ assets remaining
after payment of the Allowed Secured Claims.

“Voting Deadline” means the last day to file a Ballot accepting or rejecting the Plan as
fixed by the Disclosure Statement Approval Order.

“Voting Instructions” means the instructions for voting on the Plan contained in the
section of the Disclosure Statement entitled “Voting Instructions.”

‘“WEG” means the Debtor, Williams Financial Group, Inc.

“WFEGA” means the Debtor, WFG Advisors, LP

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“WFGI” means the Debtor, WFG Investments, Inc.
2,2 Rules of Construction.

2.2.1 Any capitalized term used in the Plan that is not defined in the Plan but
that is defined in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning ascribed
to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be (with the
Bankruptcy Code or the Bankruptcy Rules, as the case may be, controlling in the case of a conflict
or ambiguity).

2.2.2 For purposes of the Plan: (a) whenever from the context it is appropriate,
each term, whether stated in the singular or the plural, shall include both the singular and the plural;
(b) any reference in the Plan to a contract, instrument, release, indenture or other agreement or
document being in a particular form or on particular terms and conditions means that such contract,
instrument, release, indenture or other agreement or document shall be substantially in such form
or substantially on such terms and conditions; (c) any reference in the Plan to an existing document
or Exhibit means such document or Exhibit as it may have been or may be amended, modified or
supplemented; (d) if the Plan's description of the terms of an Exhibit is inconsistent with the terms
of the Exhibit, the terms of the Exhibit shall control; (e) unless otherwise specified, all references
in the Plan to Articles and Exhibits are references to Articles and Exhibits of or to the Plan; (f)
unless the context requires otherwise, the words “herein,” “hereunder” and “hereto” refer to the
Plan in its entirety rather than to a particular Article or section or subsection of the Plan; (g) any
phrase containing the term “include” or “including” shall mean including without limitation; (h)
all of the Exhibits referred to in the Plan shall be deemed incorporated herein by such reference
and made a part hereof for all purposes; (i) any reference to an Entity as a Holder of a Claim or
Equity Interest includes that Entity's successors and assigns; and (j) the rules of construction set
forth in Section 102 of the Bankruptcy Code shall apply in the construction of the Plan, to the
extent such rules are not inconsistent with any other provision in this Article 2.2.

2.2.3 Any reference to a Liquidating Trust shall be read to mean each
Liquidating Trust.

2.2.4 Any reference to the Liquidating Trustee or Liquidating Trustees shall be
read to mean the liquidating trustee for each Liquidating Trust, in its capacity as such.

ARTICLE 3
TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS

In accordance with Section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims have not been classified in the Plan. The treatment accorded to Administrative Expense
Claims is set forth below in this Article 3.

3.1 Administrative Claims.

3.1.1 Administrative Claims include any right to payment constituting a cost or
expense of administration of the Chapter 11 Cases of a kind specified under section 503(b) of the
Bankruptcy Code and entitled to priority under section 507(a)(2), 507(b) or 1114(e)(2) of the
Bankruptcy Code, including, without limitation, any actual and necessary costs and expenses of

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preserving the Debtors! estates, any actual and necessary costs and expenses of operating the
Debtors' business, and the wind-up, including severance payments to the Debtors’ employees
pursuant to the Debtors’ customary pre-petition business practices, any indebtedness or obligations
incurred or assumed by the Debtors in Possession in connection with the conduct of their business,
including, without limitation, for the acquisition or lease of property or an interest in property or
the rendition of services, all compensation and reimbursement of expenses to the extent awarded
by the Court under sections 330, 331 or 503 of the Bankruptcy Code, any fees or charges assessed
against the Debtors’ estates under section 1930 of chapter 123 of title 28 of the United States Code,
any Claim for goods delivered to the Debtors within twenty (20) days of the Petition Date and
entitled to administrative priority pursuant to section 503(b)(9) of the Bankruptcy Code.

3.1.2 Each holder of an Allowed Administrative Claim shall receive from the
Debtors or Liquidating Trustee(s) (a) Cash in an amount equal to the amount of such Allowed
Administrative Claim on the later of the Effective Date and the date such Administrative Claim
becomes an Allowed Administrative Claim, or as soon thereafter as is practicable, or (b) such other
treatment as the Debtors or Liquidating Trustee(s) and such holder shall have agreed upon in
writing; provided, however, that Allowed Administrative Claims incurred in the ordinary course
of the Debtors’ business shall be paid when due.

3.1.3 Unless a prior date has been established pursuant to the Bankruptcy Code,
the Bankruptcy Rules or a prior order of the Court, the Confirmation Order will establish a bar
date for filing applications for allowance of Administrative Claims, which date will be the first
business day that is thirty (30) days after the Effective Date. Holders of Administrative Claims not
paid prior to the Effective Date shall submit requests for payment on or before the applicable
Administrative Claims Bar Date or forever be barred from doing so. The notice of confirmation to
be delivered pursuant to Bankruptcy Rules 3020(c) and 2002(f) will set forth the Administrative
Claims Bar Date and constitute good and sufficient notice of the Administrative Claims Bar Date.
The Liquidating Trustee shall have 90 days (or such longer period as may be allowed by order of
the Court, which may be entered without notice or a hearing) following the Administrative Claims
Bar Date to review and object to all Administrative Claims.

3.1.4 Any pre-confirmation United States Trustee fees shall be paid on or
before the Effective Date in accordance with 11 U.S.C. § 1129(a)(12).

3,2 Fee Claims.

3.2.1 Fee Claims are Administrative Claims under section 330(a), 331 or 503
of the Bankruptcy Code for compensation of a Professional or other Person for services rendered
or expenses incurred in the Chapter 11 Cases on or prior to the Effective Date.

3.2.2 All requests for compensation or reimbursement of Fee Claims pursuant
to sections 327, 328, 330, 331, 503 or 1103 of the Bankruptcy Code for services rendered prior to
the Effective Date shall be filed and served on the Debtors, counsel to the Debtors, the United
States Trustee, Liquidating Trustee, counsel to the Liquidating Trustee and such other entities who
are designated by the Bankruptcy Rules, the Confirmation Order or other order of the Court, no
later than thirty (30) days after the Effective Date. Holders of Fee Claims that are required to file
and serve applications for final allowance of their Fee Claims and that do not file and serve such

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applications by the required deadline shall be forever barred from asserting such Claims against
the Debtors, or their respective properties, and such Fee Claims shall be deemed discharged as of
the Effective Date. Objections to any Fee Claims must be filed and served on the Debtors, counsel
for the Debtors, Liquidating Trustee, counsel for the Liquidating Trustee and the requesting party
no later than sixty (60) days after the Effective Date.

ARTICLE 4
DESIGNATION OF CLASSES OF CLAIMS AND EQUITY INTERESTS

Pursuant to Section 1122 of the Bankruptcy Code, set forth below is a designation of
Classes of Claims and Equity Interests. In accordance with Section 1123(a)(1) of the Bankruptcy
Code, Administrative Claims and Fee Claims are not classified and are excluded from the Classes
set forth in Articles 4.1 through 4.5 below. The treatment accorded Administrative Claims and
Fee Claims is set forth in Article 3 of the Plan. A Claim or Equity Interest (a) is classified in a
particular Class only to the extent the Claim or Equity Interest qualifies within the description of
that Class and (b) is classified in a different Class to the extent the Claim or Equity Interest qualifies
within the description of that different Class.

The Debtors are not substantively consolidated. Accordingly Allowed Unsecured Claims and
Allowed Priority Claims will be paid from the assets of the Liquidating Trust established for each
Debtor and available for distribution after payment of senior claims and the expenses of the particular
Liquidating Trust.

For purposes of consistency there are five identical Classes for each Debtor. In some cases,
however, a Class is an Empty Class. Empty Classes are disregarded for vote solicitation and Plan
Acceptance purposes.

4.1 Priority Claims: Classes 1WFG, 1WFGI, 1WEGM and 1WFGA.
Class 1 consists of all Allowed Priority Claims.
Classes 1 WFGM and 1 WFGA are empty.
42 Secured Claims: Classes 2WFG, 2WFGI, 2WFGM and 2WFGA,
Class 2 consists of Allowed Secured Claims.
Classes 2WFGI, 2WFGM and 2WFGA are empty.
4.3 General Unsecured Claims: Classes 3WFG, 3WFGI, 3WFGM and 3WFGA.
Class 3 consists of all Allowed General Unsecured Claims,
Class 3WFGM is empty.
44 Subordinated Claims: Classes 4WFG, 4WFGI, 4WEGM and 4WEGA.

Class 4 consists of Subordinated Claims.

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The Debtors are not aware of any subordinated claims.

4.5 Equity Interests: Classes SWFG, 5WFGI, SWFGM and SWEGA.
Class 5 consists of all Equity Interests in the Debtors.
There are no Empty Classes in Class 5.

ARTICLE 5
TREATMENT OF CLASSIFIED CLAIMS AND EQUITY INTERESTS

Claims and Equity Interests shall be treated under the Plan in the manner set forth in this
Article 5,

5,1 Unclassified Claims.

Allowed Administrative Expense Claims and Allowed Priority Claims shall receive
the treatment set forth in Article 3 of the Plan.

5,2 Priority Claims: Classes 1WFG, 1WFGI, 1WFGM and 1WFGA.

Each Holder of an Allowed Priority Claim shall be paid on the later of the thirtieth
day after the Effective Date or such later date as such claim may become an Allowed Claim (a) an
amount, in Cash, equal to the Allowed Amount of its Priority Claim, in accordance with Section
1129(a)(9)(B) of the Bankruptcy Code, (b) under such other terms as may be agreed upon by both
the Holder of such Allowed Priority Claim and the Liquidating Trustee(s), or (c) as otherwise
ordered by a Final Order of the Bankruptcy Court. Class 1 is Unimpaired.

Each Class 1 is Unimpaired.
5.3 Secured Claim Claims: Classes 2WFG, 2WFGI, 2WFGM and 2WFGA.

Each Holder of an Allowed Secured Claim shall receive one of the following at the
Debtor or the Liquidating Trustee's sole option: (a) the Debtor or the Liquidating Trust shall
surrender all collateral securing such Claim to the Holder thereof, in full satisfaction of such
Holder's Allowed Class 2A Claim, without representation or warranty by, or recourse against, the
Debtor or the Liquidating Trust, or (b) such Holder shall receive the proceeds from the sale of such
Holder's Collateral.

Each Class 2 is Unimpaired.
5.4 General Unsecured Claims: Classes 3WFG, 3WFEGI, 3WFGM and 3WEGA. .

Except to the extent that a holder of an Allowed General Unsecured Claim shall
have agreed in writing to a different treatment, each holder of an Allowed General Unsecured
Claim shall receive a pro rata share of the Unsecured Distribution Amount. Under no
circumstances shall any holder of an Allowed General Unsecured Claim receive more than
payment in full of such Claim.

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Each Classes 3WFG, 3WFGI and 3WFGM are Impaired. Class 3WFGA is
unimpaired.°

5.5 Subordinated Claims: Classes 4WFEG, 4WFGI, 4WEGM and 4WFGA.

Holders of Subordinated Claims shall receive no distribution under the Plan until
all Allowed Administrative Priority and General Unsecured Claims have been paid in full.
Thereafter, Holders of the Subordinated Claims shall receive payments of the remaining funds in
the Liquidating Trust up to the full amount of their Allowed Subordinated Claim.

Each Class 4 is Impaired.
5.6 Equity Interests: Classes 5WEG, SWFGI, S5WFGM and 5WEGA.

The Holders of Equity Interests in the Debtors shall receive payments of the
remaining funds in the applicable Liquidating Trust after Allowed Claims in such estate have been
paid in full.

Each Class 5 is impaired.

ARTICLE 6
ACCEPTANCE OR REJECTION OF THE PLAN

6.1 Each Impaired Class Entitled to Vote Separately.

The Holders of Claims in each Impaired Class of Claims shall be entitled to vote
separately to accept or reject the Plan.

6.2 Acceptance by Impaired Classes.

Classes 3WEG, 3WFGI, 3WFGM, 3WFGA, 4WFG, 4WFGI, 4WFGM, 4WFGA,
5WEG, SWEGL 5WFGM, and 5WFGA, are Impaired under the Plan, Pursuant to Section 1126(c)
of the Bankruptcy Code, an Impaired Class of Claims shall have accepted the Plan if (a) the
Holders (other than any Holder designated pursuant to Section 1126(e) of the Bankruptcy Code)
of at least two-thirds in dollar amount of the Allowed Claims actually voting in such Class have
voted to accept the Plan and (b) the Holders (other than any Holder designated pursuant to Section
1126(e) of the Bankruptcy Code) of more than one-half in number of the Allowed Claims actually
voting in such Class have voted to accept the Plan. If a Holder of a Claim holds more than one
Claim in any one Class, all Claims of such Holder in such Class shall be aggregated and deemed
to be one Claim for purposes of determining the number of Claims in such Class voting on the
Plan. Pursuant to Section 1126(d) of the Bankruptcy Code, an Impaired Class of Equity Interests
shall have accepted the Plan if the Holders (other than any Holder designated pursuant to Section
1126(e) of the Bankruptcy Code) of at least two-thirds in amount of the Allowed Equity Interests
actually voting in such Class have voted to accept the Plan.

 

3 Available to Equity (Parent company WFG); included in distribution to WFG Creditors.

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6.3 Presumed Acceptance of Plan by Unimpaired Classes.

Each of Secured and Priority Claims are Unimpaired under the Plan. Pursuant to
Section 1126(f) of the Bankruptcy Code, each such Class and the Holders of Claims in such
Classes are conclusively presumed to have accepted the Plan and, thus, are not entitled to vote on
the Plan. Accordingly, votes of Holders of Claims in such Classes are not being solicited by the
Debtors. Except as otherwise expressly provided in the Plan, nothing contained herein or
otherwise shall affect the rights and legal and equitable claims or defenses of the Debtors in respect
of any Unimpaired Claims, including all rights in respect of legal and equitable defenses to setoffs
or recoupments against Unimpaired Claims.

6.4 Impairment Controversies.

If a controversy arises as to whether any Claim or Equity Interest, or any Class of
Claims or Class of Equity Interests, is Impaired under the Plan, such Claim, Equity Interest or
Class shall be treated as specified in the Plan unless the Bankruptcy Court shall determine such
controversy upon motion of the party challenging the characterization of a particular Claim or
Equity Interest, or a particular Class of Claims or Class of Equity Interests, under the Plan.

ARTICLE 7
TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

7.1 Rejection of Executory Contracts and Unexpired Leases.

Pursuant to Sections 365 and 1123(b)(2) of the Bankruptcy Code, all executory
contracts and unexpired leases that exist between the Debtors and another Person or Entity shall
be deemed rejected by the Debtors as of the Confirmation Date (collectively, the “Rejected
Contracts”), unless there is pending before the Bankruptcy Court on the Confirmation Date a
motion to assume any executory contract or unexpired lease.

72 Approval of Rejection of Executory Contracts and Unexpired Leases.

Entry of the Confirmation Order shall, subject to and upon the occurrence of the
Effective Date, constitute the approval, pursuant to Sections 365(a) and 1123(b)(2) of the
Bankruptcy Code, of the rejection of the executory contracts and unexpired leases rejected
pursuant to Article 7 of the Plan.

73 Claims under Rejected Executory Contracts and Unexpired Leases.

Any Claim for damages arising by reason of the rejection of any executory contract
or unexpired lease must be filed with the Bankruptcy Court on or before the Bar Date for rejection
damage Claims in respect of such rejected executory contract or unexpired lease and served upon
the Debtor or such Claim shall be forever barred and unenforceable against the Debtor and/or the
Liquidating Trustee. With respect to the Rejected Contracts, the Bar Date shall be thirty (30) days
after the Confirmation Date. Such Claims, once fixed and liquidated by the Bankruptcy Court and
determined to be Allowed Claims, shall be General Unsecured Claims. The Plan and any other
order of the Bankruptcy Court providing for the rejection of an executory contract or unexpired
lease shall constitute adequate and sufficient notice to Persons or Entities which may assert a Claim

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for damages from the rejection of an executory contract or unexpired lease of the Bar Date for
filing a Claim in connection therewith.

7.4 Insurance.

None of the Disclosure Statement, Plan, or Confirmation Order shall: (a) modify
the coverage provided under the Debtors’ current, unexpired insurance policies, (b) except as
provided for in the Plan, alter in any way the rights and obligations of the Debtors’ insurers under
their policies, or (c) except as provided in the Plan, alter in any way the rights and obligations of
the Debtors or the Liquidating Trustee, as applicable, under the insurance policies, including,
without limitation, any duty of the Debtors or the Liquidating Trustee, as applicable, to defend, at
their own expense, against claims asserted under the insurance policies. The Debtors' insurers shall
retain any and all defenses to coverage that such insurers may have, including the right to contest
and/or litigate with any party, including the Debtors and the Liquidating Trustee, as applicable,
the existence, primacy, and/or scope of available coverage under any alleged applicable policy.
Nothing in the Disclosure Statement, Plan or Confirmation Order in any way permits any holder
of a Claim to recover the same amounts from the insurers and any other party including, but not
limited to, the Debtors or the Liquidating Trustee. Nothing in the Disclosure Statement, Plan, or
Confirmation Order shall modify the rights of the Debtors' insurers with respect to the maintenance
or use of any letters of credit, or other collateral and security provided to them, in connection with
liabilities arising under the applicable insurance agreements.

ARTICLE 8
MEANS OF IMPLEMENTATION OF THE PLAN

8.1 General Overview of Plan.

This Plan is a liquidating plan that calls for the liquidation of the Assets of the
Debtors. On the Effective Date of the Plan, all Property owned by the Debtors shall be transferred
to a Liquidating Trust for each particular Debtor and a Liquidating Trustee(s) and a Claims
Resolution Arbitrator shall be appointed to implement the terms of the Plan with respect to the
Liquidating Trust and the Claims Resolution Process, as set forth in Articles 8 and 9 of the Plan.
After Confirmation, the Liquidating Trustee will be empowered to pursue and structure Settlement
Agreements.

8.2 Proceeds of Insurance Policy Budget.

8.2.1 The Plan proposes a settlement of the ownership of the proceeds
($3.179 million) of the Insurance Policy Buyout. In the event the settlement is approved, 77% of
such proceeds shall be allocated to WFGI, and 23% of such proceeds shall be allocated to WFGA.

8.2.2 In the event the settlement proposed in Section 8.2.1 is not approved, the
proceeds shall remain in a joint account, under the joint control of the Liquidating Trustees for the
WFEGI Liquidating Trust and the WFGA Liquidating Trust. In such event a Liquidating Trustee
will be appointed for WFGI and a Liquidating Trustee will be appointed for the liquidating trusts
of WFG, WFGA, and WFGM.

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8.3 Effective Date Transactions; Vesting of Assets in the Liquidating Trust.

Subject to the approval of the Bankruptcy Court and the satisfaction or waiver of
the conditions precedent to the occurrence of the Effective Date contained in Article 11.2 of the
Plan, on or as of the Effective Date, the Plan shall be implemented and the following actions shall
occur in the following order:

8.3.1 the appointment of a Liquidating Trustee for each Liquidating Trust shall
become effective;

8.3.2 the Liquidating Trust shall be automatically substituted for the Debtors
as a party to all contested matters, adversary proceedings, claims, administrative proceedings and
lawsuits, both within and outside of the Bankruptcy Court, involving the Assets, Claims against
the Debtors, the Causes of Action, and the resolution of Disputed Claims;

8.3.3 all of the Assets shall vest in each Liquidating Trust, and all privileges
with respect to the Assets, including the attorney/client privilege, to which the Debtors is or would
be entitled shall automatically vest in, and may be asserted by or waived on behalf of, the
Liquidating Trust; and

8.3.4 the appointment of the Claims Resolution Arbitrator shall become
effective.

8.4 Continued Corporate Existence; Dissolution.

8.4.1 As of the Effective Date, the Debtors shall be administratively dissolved
and Liquidating Trustee shall file a certificate of dissolution (or its equivalent) with the secretary
of state or similar official.

8.4.2 The officers and directors of the Debtors immediately prior to the
Effective Date shall be deemed to have resigned without any further action by any party.

8.4.3 From and after the Confirmation Date and until the Effective Date, the
board of directors and officers of the Debtors shall have all powers accorded by law to put into
effect and carry out the Plan and the Confirmation Order.

8.4.4 Notwithstanding anything to the contrary set forth in this Article 8.3 or
elsewhere in the Plan, the management and administration of each Liquidating Trust (and the
Assets) shall be the sole responsibility of the Liquidating Trustee. Notwithstanding anything to
the contrary set forth in this Article 8.4 or elsewhere in the Plan, the management and
administration of the Claims Resolution Process as it applies to Securities Related Claims shall be
the sole responsibility of the Claims Resolution Arbitrator.

8.5 Corporate Action.

All matters provided for under the Plan involving the corporate structure of the
Debtors or the Liquidating Trust, or any corporate action to be taken by or required of the Debtors

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shall, as of the Effective Date, be deemed to have occurred and be effective as provided herein,
and shall be authorized and approved in all respects without any requirement for further action.

8.6 Selection, Duties and Compensation of the Liquidating Trustee.

8.6.1 Each initial Liquidating Trustee shall be disclosed in the Plan
Supplement, and the appointments shall be effective as of the Effective Date.

8.6.2 The Liquidating Trustee shall have and perform all of the duties,
responsibilities, rights and obligations set forth in this Plan and in the Confirmation Order. The
responsibilities of the Liquidating Trustee shall include (i) object to the allowance of Claims; (it)
open, maintain and administer bank accounts; (iii) engage employees and professional persons,
including in the Liquidating Trustee’s discretion, professionals previously retained by the Debtors,
as necessary or desirable to assist in carrying out the provisions of and purposes underlying the
Plan and the Liquidating Trust Agreement; (iv) incur and pay reasonable fees, costs, and expenses
in connection with administering the Liquidating Trust and implementing the terms of the Plan
and the Liquidating Trust Agreement, including the reasonable fees, costs and expenses of retained
professionals, in accordance with the provisions of the Plan and the Liquidating Trust Agreement,
(v) expend the Liquidating Trust Assets as necessary to maintain the value of the assets of the
Liquidating Trust during liquidation; (vi) investigate, analyze, commence, prosecute, litigate,
compromise and otherwise administer the Causes of Action, and take all other necessary and
appropriate steps to collect, recover, settle, liquidate or otherwise reduce the Liquidating Trust
Assets to Cash; (vii) approve compromises of the Causes of Action and all Claims, and execute all
necessary and appropriate documents to effectuate such settlements, without notice to any party
and without further order of the Bankruptcy Court; (viii) administer, sell, liquidate, or otherwise
dispose of the Liquidating Trust Assets in accordance with the terms of the Plan and the
Liquidating Trust Agreement; (ix) represent the Liquidating Trust before the Bankruptcy Court
and other courts of competent jurisdiction, if necessary, with respect to matters regarding the
administration of the Liquidating Trust; (x) comply with any applicable orders of the Bankruptcy
Court and any other court of competent jurisdiction, and all applicable laws and regulations,
concerning the matters set forth herein; (xi) hold legal title to any and all rights of the Consolidated
Debtors, the Estate and the Beneficiaries under the Liquidating Trust Agreement in or arising from
the Liquidating Trust Assets; (xii) represent the Liquidating Trust in any arbitration and participate
in said arbitrations; (xiii) in reliance upon the Schedules and the claims register maintained in the
Bankruptcy Case, maintain on the Liquidating Trustee’s books and records a register evidencing
the beneficial interest held by each Beneficiary as provided by the Liquidating Trust Agreement;
(xiv) make all distributions to the Holders of Allowed Claims provided for, or contemplated by,
the Plan; (xv) establish the Disputed Claims Reserve; (xvi) establish the Administrative Reserve;
(xvii) make all tax withholdings, file tax information returns, make tax elections by and on behalf
of the Liquidating Trust and file tax returns for the Liquidating Trust as a grantor trust in
accordance with Treasury Regulations Section 1.671-4(a); (xviii) pay any taxes imposed on the
Liquidating Trust; (xix) send annually to each Beneficiary under the Liquidating Trust Agreement
a separate statement of the Beneficiary’s share of the Liquidating Trust’s income, gain, loss,
deduction or credit, and instruct all such Beneficiaries to report such items on their federal tax
returns; (xx) as soon as reasonably practicable after the Effective Date, make a good faith valuation
of the Liquidating Trust Assets which shall be made available from time to time, to the extent
relevant, and used consistently by all parties for all income tax purposes; (xxi) carry insurance

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coverage if the Liquidating Trustee deems such insurance necessary and appropriate in his or her
sole and absolute discretion; (xxii) exercise such other powers as may be vested in the Liquidating
Trustee pursuant to the Plan, the Liquidating Trust Agreement, the Confirmation Order, or other
Final Orders of the Bankruptcy Court; (xxiii) execute any documents, instruments, contracts or
agreements necessary or desirable to carry out the powers and duties of the Liquidating Trustee;
(xxiv) act as the records custodian of the Debtors pursuant to SEC and FINRA requirements; (xxv)
stand in the shoes of the Consolidated Debtors and the Estate for all purposes consistent with the
Plan and the Liquidating Trust Agreement; (xxvi) the Liquidating Trustee shall file quarterly post-
confirmation reports and shall pay quarterly fees due to the Office of United States Trustee until
such time as a final decree is entered, the case is dismissed, converted, closed or the Bankruptcy
Code orders otherwise; (xxvii) retain Special Counsel of behalf of particular Liquidating Trust in
the event of any actual or potential conflict between Liquidating Trust and authorizing such
counsel to litigate or settle any dispute referred to it on such terms as the Special Counsel
determines in is sole discretion is appropriate; and (xxviii) such other responsibilities as may be
vested in the Liquidating Trustee pursuant to the Plan, by orders of the Bankruptcy Court, or as
may be necessary and proper to carry out the provisions of the Plan.

8.6.3 The Liquidating Trustee shall be deemed to be for all purposes the
“representative” of the respective Liquidating Trust as set forth in Section 1123(b) of the
Bankruptcy Code to retain, enforce, settle and prosecute all Causes of Action. The Liquidating
Trustee shall use his or her best efforts to promptly liquidate the Assets of the Liquidating Trust
as soon as practicable at minimal cost and to distribute the proceeds thereof as soon as practicable
pursuant to this Plan.

8.6.4 The initial compensation of the Liquidating Trustee shall be approved by
the Bankruptcy Court, and that compensation, plus reimbursement for actual, reasonable and
necessary expenses incurred by the Liquidating Trustee, shall be paid by the Liquidating Trust.
From and after the Effective Date, any professionals engaged or retained by the Liquidating
Trustee shall be entitled to reasonable compensation to perform services for the Liquidating
Trustee. The fees and expenses of the Liquidating Trustee and any professionals employed by the
Liquidating Trustee shall be subject to review by the United States Trustee. Unless the United
States Trustee files an objection with the Bankruptcy Court within twenty (20) days of the receipt
of any invoice of the Liquidating Trustee or his or her professionals, the Liquidating Trustee shall
be fully authorized without an order of the Bankruptcy Court to pay, on a monthly basis, one
hundred percent (100%) of the fees and one hundred percent (100%) of the expenses incurred by
the Liquidating Trustee and his or her professionals out of the Assets of the Liquidating Trust. If
an objection is filed, then the Liquidating Trustee shall still be fully authorized without an order
of the Bankruptcy Court to pay, on a monthly basis, one hundred percent (100%) of the fees and
one hundred percent (100%) of the expenses incurred by the Liquidating Trustee and his or her
professionals that are not subject to an objection. The Bankruptcy Court shall retain jurisdiction
over any objections to such fees and expenses that are filed. The Liquidating Trustee and any
professionals he hires hall not be required to file any applications for compensation with the
Bankruptcy Court.

8.6.5 The Liquidating Trustee shall not be required to give any bond or surety
or other security for the performance of his or her duties unless otherwise ordered by the

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Bankruptcy Court. If otherwise so ordered, all costs and expenses of procuring any such bond
shall be paid by the Liquidating Trust.

8.6.6 The Liquidating Trustee shall serve from and after the Effective Date
until his or her successor is duly appointed and qualified or until his or her earlier death, resignation
or removal. In the event of the death, resignation or removal of the Liquidating Trustee, any
successor thereto shall be selected by the Liquidating Committee and officially appointed
following notice to the Master Service List and a hearing before the Bankruptcy Court.

8.7 Section 1146 Exemption.

Pursuant to Section 1146(a) of the Bankruptcy Code, the issuance, distribution,
transfer or exchange of any security or the making, delivery or recording of any instrument of
transfer pursuant to, in implementation of, or as contemplated by the Plan or any Plan Document,
or the revesting, transfer or sale of any real or personal Property of, by or in the Debtors pursuant
to, in implementation of, or as contemplated by the Plan or any Plan Document, or any transaction
arising out of, contemplated by or in any way related to the foregoing, shall not be subject to any
document recording tax, stamp tax, conveyance fee, intangible or similar tax, mortgage tax, stamp
act, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording
fee, or other similar tax or governmental assessment, and the appropriate state or local
governmental officials or agents shall be, and hereby are, directed to forego the collection of any
such tax or governmental assessment and to accept for filing and recording any of the foregoing
instruments or other documents without the payment of any such tax or governmental assessment.

8.8 Effectuating Documents: Further Transactions.

The Confirmation Order shall provide that, prior to the Effective Date, David
Williams, the President, Chief Executive Officer and director of the Debtors, and after the
Effective Date, the Liquidating Trustee, shall be authorized to execute, deliver, file, or record such
contracts, instruments, releases, mortgages, and other agreements or documents, and take such
actions as may be necessary to appropriate, to effectuate and further implement the terms and
conditions of the Plan or to otherwise comply with applicable law.

8.9 Pursuit of Causes of Action.

8.9.1 On the Effective Date, the Causes of Action shall be vested in the
respective Liquidating Trust; except to the extent that a Creditor or other third party has been
specifically released from any Cause of Action by the terms of the Plan or by Bankruptcy Court
Order. The Causes of Action shall be pursued by the Liquidating Trustee. The Debtors are not
currently in a position to express an opinion on the merits of any of the Causes of Action or on the
recoverability of any amounts as a result of any such Causes of Action. For purposes of providing
notice, the Debtors state that any party in interest that engaged in business or other transactions
with the Debtors Prepetition or that received payments from the Debtors Prepetition may be subject
to litigation to the extent that applicable bankruptcy or non-bankruptcy law supports such
litigation.

8.9.2 No Creditor or other party should vote for the Plan or otherwise rely on
the Confirmation of the Plan or the entry of the Confirmation Order in order to obtain, or on the

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belief that it will obtain, any defense to any Causes of Action. No Creditor or other party should
act or refrain from acting on the belief that it will obtain any defense to any Cause of Action.
ADDITIONALLY, (UNLESS EXPRESSLY SET FORTH IN THE PLAN), THE PLAN DOES
NOT, AND IS NOT INTENDED TO, RELEASE ANY CAUSES OF ACTION OR
OBJECTIONS TO CLAIMS, AND ALL SUCH RIGHTS ARE SPECIFICALLY RESERVED IN
FAVOR OF THE LIQUIDATING TRUSTEE AND THE LIQUIDATING TRUST. Creditors are
advised that legal rights, claims, and rights of action the Debtors may have against them, if they
exist, are retained under the Plan for prosecution unless a specific order of the Bankruptcy Court
authorizes the release of such claims. As such, Creditors are cautioned not to rely on (i) the absence
of the listing of any legal right, claim or right of action against a particular Creditor in the
Disclosure Statement, the Plan, or the Schedules or (ii) the absence of litigation or demand prior
to the Effective Date of the Plan as any indication that the Debtors or the Liquidating Trustee do
not possess or do not intend to prosecute a particular claim or cause of action ifa particular Creditor
votes to accept the Plan. It is the expressed intention of the Plan to preserve rights, claims, and
rights of action of the Debtors, whether now known or unknown, for the benefit of the Liquidating
Trust and the Debtors’ Creditors. A Cause of Action shall not, under any circumstances, be waived
as a result of the failure of the Debtors to describe such Cause of Action with specificity in the
Plan or the Disclosure Statement.

8.9.3 The Debtors do not presently know the full extent of the Causes of Action
and, for purposes of voting on the Plan, all Creditors are advised that the Liquidating Trustee will
have substantially the same rights that a Chapter 7 Trustee would have with respect to the Causes
of Action. Accordingly, neither a vote to accept the Plan by any Creditor nor the entry of the
Confirmation Order will act as a release, waiver, bar or estoppel of any Causes of Action against
such Creditor or any other Person or Entity, unless such Creditor, Person or Entity is specifically
identified by name as a released party in the Plan, in the Confirmation Order, or in any other Final
Order of the Bankruptcy Court. Confirmation of the Plan and entry of the Confirmation Order is
not intended to and shall not be deemed to have any res judicata, collateral estoppel or other
preclusive effect which would precede, preclude, or inhibit prosecution of such Causes of Action
following Confirmation of the Plan.

ARTICLE 9
THE CLAIMS RESOLUTION PROCESS

91 Establishment and Purpose of the Claims Resolution Process.

The Allowed Amount of all Securities-Related Claims, for purposes of allowance
and distribution in the Liquidation case only, shall be determined pursuant to the Claims
Resolution Process set forth in Article 9 of the Plan, unless the Holder of a Securities-Related
Claim elects to have his or her claim estimated by the Bankruptcy Court for purposes of
distribution under the Plan. The purpose of the Claims Resolution Process shall be to, among other
things, establish the method pursuant to which the Claims Resolution Arbitrator will make a final
and binding determination with respect to the Allowed Amount of all Securities-Related Claims
that cannot be resolved by agreement between the Securities Related Claimant and the Debtor
(before the Effective Date) or the Liquidating Trustee (after the Effective Date), in accordance
with the Plan and the Confirmation Order.

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9,2 Claims Resolution Expenses.

The Liquidating Trustee shall pay all Claims Resolution Expenses from the
Liquidating Trust in accordance with the Plan. In the event that a claim involves more than one
Liquidating Trust, the final allocation of expenses shall be determined on the basis of the final
result pro-rata. However, interim expenses may be made based on the Liquidating Trustee’s
business judgment and liability for the Claims Resolution Arbitrator shall be joint and several
among the Liquidating Trusts. In the event of a no-liability finding against all Liquidating Trusts,
expenses shall be allocated by the Liquidating Trustee(s) for the defendant Liquidating Trusts.

9,3 Selection, Duties and Compensation of the Claims Resolution Arbitrator.

9.3.1 The initial Claims Resolution Arbitrator shall be selected by the Debtors,
subject to the approval of the Bankruptcy Court, and such appointment shall be effective as of the
Effective Date.

9.3.2 The Claims Resolution Arbitrator shall have and perform all of the duties,
responsibilities, rights and obligations set forth in the Plan and the Conformation Order. For
purposes of performing his or her duties and fulfilling his or her obligations under the Plan, the
Claims Resolution Arbitrator shall be deemed to be a party in interest within the meaning of
Section 1109(b) of the Bankruptcy Code. The responsibilities of the Claims Resolution Arbitrator
shall include (i) the receipt and review of all documentation related to Securities-Related Claims,
the determination with respect to Allowed Amount of Securities-Related Claims, both with respect
to liability and damages, all as governed by the Plan; (ii) acting as mediator for all mediations of
Securities-Related Claims; (iii) the calculation and final and binding determination of the Allowed
Amounts of all Securities-Related Claims that are not resolved in a consensual manner; and (iv)
such other responsibilities as may be vested in the Claims Resolution Arbitrator pursuant to the
Plan, by orders of the Bankruptcy Court, or as may be necessary and proper to carry out the
provisions of the Plan, including the retention of professionals.

9.3.3 The initial compensation of the Claims Resolution Arbitrator shall be
approved by the Bankruptcy Court, and such compensation, plus reimbursement for actual,
reasonable and necessary expenses incurred by the Claims Resolution Arbitrator, shall constitute
Claims Resolution Expenses to be paid from the Liquidating Trust. The Claims Resolution
Arbitrator shall not be entitled to increase his or her compensation absent approval of the United
States Trustee or an order of the Bankruptcy Court. From and after the Effective Date, any
professionals engaged or retained by the Claims Resolution Arbitrator shall be entitled to
reasonable compensation to perform services for the Claims Resolution Arbitrator. The fees and
expenses of the Claims Resolution Arbitrator and any professionals employed by the Claims
Resolution Arbitrator shall be subject to review by the United States Trustee, Unless the United
States Trustee files an objection with the Bankruptcy Court within twenty (20) days of the receipt
of any invoice of the Claims Resolution Arbitrator or his or her professionals, the Liquidating
Trustee shall be fully authorized without an order of the Bankruptcy Court to pay, on a monthly
basis, one hundred percent (100%) of the fees and one hundred percent (100%) of the expenses
incurred by the Claims Resolution Process and the Claims Resolution Arbitrator and his or her
professionals. If an objection is filed, then the Liquidating Trustee shall still be fully authorized
without an order of the Bankruptcy Court to pay, on a monthly basis, one hundred percent (100%)

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of the fees and one hundred percent (100%) of the expenses incurred by the Claims Resolution
Process and the Claims Resolution Arbitrator and his or her professionals that are not subject to
an objection. The Bankruptcy Court shall retain jurisdiction over any objections to such fees and
expenses that are filed. Neither the Claims Resolution Arbitrator nor any professional he retains,
shall be required to file any applications for compensation with the Bankruptcy Court.

9.3.4 The Claims Resolution Arbitrator shall not be required to give any bond
or surety or other security for the performance of his or her duties unless otherwise ordered by the
Bankruptcy Court. If otherwise so ordered, all costs and expenses of procuring any such bond
shall constitute Claims Resolution Expenses.

9.3.5 The Claims Resolution Arbitrator shall serve from and after the Effective
Date until his or her successor is duly appointed and qualified or until his or her earlier death,
resignation or removal. In the event of the death, resignation or removal of the Claims Resolution
Arbitrator, any successor thereto shall be selected by the Liquidating Trustee(s) subject to court
approval after notice to creditors with disputed claims to the Master Service List and a hearing
before the Bankruptcy Court.

9.4 Operation of Claims Resolution Process.

9.4.1 As of the Effective Date, the Claims Resolution Arbitrator shall be
empowered to act as the final arbitrator and make a final and binding determination with respect
to the Allowed Amount of all Securities-Related Claims, unless the Holder of a Securities-Related
Claim elects to have his or her claim estimated by the Bankruptcy Court for purposes of
distribution under the Plan.

9.4.2 Detailed procedures for the operation of the Claims Resolution Process
are set forth below. The purpose of the Claims Resolution Process is to provide an expedited
method for resolution of Securities-Related Claims which will be faster, more efficient, and less
expensive than FINRA arbitration or litigation of such Securities-Related Claims. The Liquidating
Trustee will review all Potential Securities Related Claims within thirty (30) days from the
Effective Date and determine whether to accept the Securities Related Claim for distribution under
the Plan as filed or scheduled, or whether further estimation process is necessary. If a Securities
Related Claim is not accepted by the Liquidating Trustee, the Liquidating Trustee will contact the
Claimant or the attorney for the Claimant and request additional non-privileged information on an
approved Securities-Related Claim form, with attached supporting documentation as required, to
assist the Liquidating Trustee in evaluating the Claim. Claimants must respond to the Information
Request from the Liquidating Trustee within thirty (30) days of the date the request is made by
providing the information request or explaining why the information cannot be provided within 30
days. The Information Request will contain an election of whether the Claimant desires his or her
claim to be estimated by the Claims Resolution Arbitrator or the Bankruptcy Court. At any time
after review of the information provided, the Claims Resolution Arbitrator may engage in informal
mediation with the Claimant and/or the Claimant's attorney on the one hand and the Liquidating
Trustee on the other to determine if a settlement of the Securities Related Claim can be agreed
upon. In the event the Liquidating Trustee and Claimant cannot come to an agreement on the
amount of the Claim within ninety (90) days after the Effective Date, the claim shall go to
mediation with the Claims Resolution Arbitrator acting as mediator.

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9.4.3 If a Securities Related Claim cannot be resolved by mediation, the
Securities-Related Claim shall be decided by the Claims Resolution Arbitrator or the Bankruptcy
Court based on the Claimant’s election stated in the Claimant’s response to the Information
Request. The Claims Arbitrator may conduct an arbitration to receive evidence and argument in
support of a Securities Related Claim. It is intended that an arbitration pursuant to the Plan will
be less formal than normal FINRA arbitrations. Rules of evidence are not applicable. The Claims
Resolution Arbitrator will have the discretion to establish appropriate procedures for each
arbitration.

9.4.4 The Claims Resolution Arbitrator shall then calculate the amount of each
Allowed Securities-Related Claim. With respect to this loss calculation, there shall be no credit
for interest, fees, costs, or attorneys' fees. The determination of the Claims Resolution Process
Administrator with respect to the Allowed Amount of all Securities-Related Claims shall be final
and binding on all Securities-Related Claimants who elect to have their Securities-Related Claims
arbitrated.

ARTICLE 10
PROVISIONS GOVERNING DISTRIBUTIONS WITH RESPECT TO CLAIMS
OTHER THAN SECURITIES-RELATED CLAIMS

Notwithstanding any provision of this Article 10 to the contrary, 4 Article 10 applies only to
Claims that are not Securities-Related Claims.

10.1 Determination of Claims Other Than Securities-Related Claims.

10.1.1. Unless otherwise ordered by the Bankruptcy Court, and except as to any
late-filed Claims and Claims resulting from the rejection of executory contracts or unexpired
leases, if any, all objections to Claims shall be filed with the Bankruptcy Court by no later than
ninety (90) days following the Effective Date (unless such period is extended by the Bankruptcy
Court upon motion of the Debtors or the Liquidating Trustee), and the Confirmation Order shall
contain appropriate language to that effect. Holders of Unsecured Claims that have not filed such
Claims on or before the Bar Date shall serve notice of any request to the Bankruptcy Court for
allowance to file late Unsecured Claims on the Debtors and such other parties as the Bankruptcy
Court may direct. Ifthe Bankruptcy Court grants the request to file a late Unsecured Claim, such
Unsecured Claim shall be treated in all respects as an Unsecured Claim. Objections to late-filed
Claims and Claims resulting from the rejection of executory contracts or unexpired leases shall be
filed on the later of (a) thirty (30) days following the Effective Date or (b) the date sixty (60) days
after the Debtors receive actual notice of the filing of such Claim.

10.1.2 Notwithstanding any authority to the contrary, an objection to a Claim
shall be deemed properly served on the Holder of the Claim if the Debtors or the Liquidating
Trustee effectuates service in any of the following manners (a) in accordance with Rule 4 of the
Federal Rules of Civil Procedure, as modified and made applicable by Bankruptcy Rule 7004, (b)
to the extent counsel for the Holder of a Claim is unknown, by first class mail, postage prepaid, on
the signatory on the Proof of Claim or other representative identified on the Proof of Claim or any
attachment thereto, or (c) by first class mail, postage prepaid, on any counsel that has filed a notice
of appearance in the Liquidation Case on behalf of the Holder of a Claim.

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10.1.3. Disputed Claims shall be fixed or liquidated in the Bankruptcy Court as
core proceedings within the meaning of 28 U.S.C. § 157(b)(2)(B) unless the Bankruptcy Court
orders otherwise. If the fixing or liquidation of a contingent or unliquidated Claim would cause
undue delay in the administration of the Liquidation Case, such Claim shall be estimated by the
Bankruptcy Court for purposes of allowance and distribution. Upon receipt of a timely filed Proof
of Claim, the Debtor, the Liquidating Trustee or other party in interest may file a request for
estimation along with its objection to the Claim set forth therein. The determination of Claims in
Estimation Hearings shall be binding for purposes of establishing the maximum amount of the
Claim for purposes of allowance and distribution. Procedures for specific Estimation Hearings,
including provisions for discovery, shall be set by the Bankruptcy Court giving due consideration
to applicable Bankruptcy Rules and the need for prompt determination of the Disputed Claim.

10.2 De Minimis Distributions as to Allowed Class 3 General Unsecured Claims.

In order to avoid the disproportionate expense and inconvenience associated with
making a de minimis distribution to the Holder of an Allowed General Unsecured Claim, the
Liquidating Trustee shall not be required to make, and shall be excused from making, any initial
or interim distribution to such Holder which is in the amount of less than $25.00. At the time of
any final distribution to the Holders of Allowed Class 3 Unsecured Claims, all such excused
distributions to such Holder shall be aggregated and, if such aggregated amount is $25.00 or more,
the Liquidating Trustee shall make a final distribution to such Holder equal to such aggregated
amount,

10.3. Unclaimed Distributions.

10.3.1 Ifthe Holder of an Allowed Claim fails to negotiate a check issued to
such Holder within ninety (90) days of the date such check was issued, then the Liquidating Trustee
shall provide written notice to such Holder stating that unless such Holder negotiates such check
within ninety (90) days of the date of such notice, the amount of Cash attributable to such check
shall be deemed to be unclaimed, such Holder shall be deemed to have no further Claim in respect
of such check, such Holder's Allowed Claim shall no longer be deemed to be Allowed, and such
Holder ‘shall not be entitled to participate in any further distributions under the Plan in respect of
such Claim.

10.3.2 Ifa Cash distribution made pursuant to the Plan to any Holder of an
Allowed Claim is returned to the Liquidating Trustee due to an incorrect or incomplete address for
the Holder of such Allowed Claim, and no claim is made in writing to the Liquidating Trustee as
to such distribution within ninety (90) days of the date such distribution was made, then the amount
of Cash attributable to such distribution shall be deemed to be unclaimed, such Holder shall be
deemed to have no further Claim in respect of such distribution, such Holder's Allowed Claim
shall no longer be deemed to be Allowed, and such Holder shall not be entitled to participate in
any further distributions under the Plan in respect of such Claim.

10.3.3. Any unclaimed Cash distribution as described above originally sent by
the Liquidating Trustee shall be contributed by the Liquidating Trustee on behalf of the
Liquidating Trust to Texas Comptroller pursuant to the Texas Unclaimed Property Laws.

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10.4 Transfer of Claim.

In the event that the Holder of any Claim shall transfer such Claim on and after the
Effective Date, such Holder shall immediately advise the Liquidating Trustee in writing of such
transfer and provide sufficient written evidence of such transfer. The Liquidating Trustee shall be
entitled to assume that no transfer of any Claim has been made by any Holder unless and until the
Liquidating Trustee shall have received written notice to the contrary. Each transferee of any
Claim shall take such Claim subject to the provisions of the Plan and to any request made, waiver
or consent given or other action taken hereunder and, except as otherwise expressly provided in
such notice, the Liquidating Trustee shall be entitled to assume conclusively that the transferee
named in such notice shall thereafter be vested with all rights and powers of the transferor under
the Plan.

10.5 One Distribution Per Holder.

If the Holder of a Claim holds more than one Claim in any one Class, all Claims of
such Holder in such Class shall be aggregated and deemed to be one Claim for distribution
purposes, and only one distribution shall be made with respect to the single aggregated Claim.

10.6 Effect of Pre-Confirmation Distributions.

Nothing in the Plan shall be deemed to entitle the Holder of a Claim that received,
prior to the Effective Date, full or partial payment of such Holder's Claim, by way of settlement or
otherwise, pursuant to an order of the Bankruptcy Court, provision of the Bankruptcy Code, or
other means, to receive a duplicate payment in full or in part pursuant to the Plan; and all such full
or partial payments shall be deemed to be payments made under the Plan for purposes of satisfying
the obligations of the Debtor or the Liquidating Trustee to such Holder hereunder.

10.7. No Interest on Claims or Equity Interests.

Except as expressly stated in the Plan or otherwise Allowed by a Final Order of the
Bankruptcy Court, no Holder of an Allowed Claim shall be entitled to the accrual of Postpetition
interest or the payment of Postpetition interest, penalties, or late charges on account of such
Allowed Claim for any purpose. Additionally, and without limiting the foregoing, interest shall
not accrue or be paid on any Disputed Claim in respect of the period from the Effective Date to
the date a final distribution is made when and if such Disputed Claim becomes an Allowed Claim.

10.8 Compliance with Tax Requirements.

In connection with the Plan, the Liquidating Trustee shall comply with all tax
withholding and reporting requirements imposed by federal, state, local and foreign taxing
authorities and all distributions hereunder shall be subject to such withholding and reporting
requirements.

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ARTICLE 11
CONDITIONS PRECEDENT

11.1 Conditions Precedent to Confirmation of the Plan.

The following are conditions precedent to Confirmation of the Plan, each of which
must be satisfied or may be waived in accordance with Article 11.3 of the Plan. These conditions
to Confirmation are as follows:

11.1.1 The Bankruptcy Court shall have made such findings and determinations
regarding the Plan as shall enable the entry of the Confirmation Order in a manner consistent with
the provisions of the Plan and in a form satisfactory to the Debtors.

11.2 Conditions Precedent to the Effective Date.

The following are conditions precedent to the occurrence of the Effective Date,
each of which must be satisfied or may be waived:

11.2.1. The Confirmation Order shall have been entered by the Bankruptcy Court
and the Confirmation Order and any order of the District Court shall be in form and substance
acceptable to the Debtors and the Liquidating Trustee, and the Confirmation Order (and any
affirming order of the District Court) shall have become a Final Order; provided, however; that
the Effective Date may occur at a point in time when the Confirmation Order is not a Final Order
at the option of the Debtors unless the effectiveness of the Confirmation Order has been stayed,
reversed or vacated. The Effective Date may occur, again at the option of the Debtors, on the first
Business Day immediately following the expiration or other termination of any stay of
effectiveness of the Confirmation Order.

11.2.2 The Plan Documents necessary or appropriate to implement the Plan shall
have been executed and delivered; all conditions precedent to the effectiveness of each of such
Plan Documents shall have been satisfied or waived by the respective parties thereto; and the Plan
Documents shall be in full force and effect. The Plan Documents shall be acceptable to the
Liquidating Trustee and the Debtors.

11.3. Waiver of Condition Precedent to Confirmation or the Effective Date.

The conditions precedent set forth in Article 11.1 and Article 11.2 of this Plan may
be waived, in whole or in part, by the Debtors, without any notice to the Bankruptcy Court and
without a hearing.

ARTICLE 12
INJUNCTIONS, EXCULPATION FROM
LIABILITY AND RELEASES

12.1. Exculpation from Liability.

The Debtors and their officers, directors, shareholders, agents and employees
and their Professionals (acting in such capacity), shall neither have nor incur any liability

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whatsoever to any Person or Entity for any act taken or omitted to be taken in good faith in

- connection with or related to the formulation, preparation, dissemination, implementation,
confirmation, or consummation of the Plan, the Disclosure Statement, any Plan Document,
or any contract, instrument, release, or other agreement or document created or entered
into, or any other act taken or omitted to be taken, in connection with the Plan or the
Liquidation Cases; provided, however, that this exculpation from liability provision shall not
be applicable to any liability found by a court of competent jurisdiction to have resulted from
gross mismanagement, breach of fiduciary duty, fraud or the willful misconduct of any such
party. The rights granted herein are cumulative with (and not restrictive of) any and all
rights, remedies, and benefits that the Debtors and their Professionals have or obtain
pursuant to any provision of the Bankruptcy Code or other applicable law. This exculpation
from liability provision is an integral part of the Plan and is essential to its implementation.
Notwithstanding anything to the contrary contained herein, the provisions of this Article
shall not release or be deemed a release of any of the Causes of Action.

12.2 Debtors Releases.

In exchange for Wilson Williams waiving his rights to his $200,000 secured
claim against WFGI, on or before the Effective Date, the Debtors, on behalf of themselves
and their estates, shall be deemed to release unconditionally all of their respective officers,
current directors, shareholders, members, employees, partners, advisors, attorneys,
financial advisors, accountants, and other professionals, (collectively the "Released Parties"
and each a "Released Party") from any and all claims, obligations, suits, judgments,
damages, rights, Causes of Action and liabilities whatsoever, whether known or unknown,
foreseen or unforeseen, existing or hereafter arising, in law, equity or otherwise, based in
whole or in part upon actions taken solely in their respective capacities described above or
any omission, transaction, event or other occurrence taking place on or prior to the Effective
Date in any way relating to the Debtors, the Chapter 11 Cases, or the Plan, except that (i) no
individual shall be released from any act or omission that constitutes gross negligence or
willful misconduct, and (ii) the foregoing release applies to the Released Parties solely in their
respective capacities described above.

12.3 Term of Certain Injunctions and Automatic Stay.

12.3.1 All injunctions or automatic stays provided for in the Chapter 11 Cases
and Liquidating Trust Agreement pursuant to Sections 105, 362 or other applicable provisions of
the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall remain in full
force and effect as provided in Section 362 of the Bankruptcy Code.

12.3.2 With respect to all arbitrations and all lawsuits pending in courts in any
jurisdiction (other than the Bankruptcy Court and arbitration proceedings) that seek to establish
the Debtors’ liability on Prepetition Claims asserted therein and that are stayed pursuant to Section
362 of the Bankruptcy Code, such lawsuits and arbitrations shall be deemed dismissed only with
respect to the Debtors as of the Effective Date, unless the Liquidating Trustee with respect to
Claims to be satisfied by it elects to have the Debtor's liability established by such other courts,
and any pending motions seeking relief from the automatic stay for purposes of continuing any
such lawsuits in such other courts shall be deemed denied as of the Effective Date, and the

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automatic stay shall continue in effect, unless the Liquidating Trustee elects to have the automatic
stay lifted and to have the Debtors’ liability established by such other courts; and the Prepetition
Claims at issue in such lawsuits shall be determined and either Allowed or disallowed in whole or
part by the Bankruptcy Court pursuant to the applicable provisions of the Plan, unless otherwise
elected by the Debtors as provided herein.

12.3.3. Any preliminary or permanent injunction entered by the Bankruptcy
Court shall continue in full force and effect following the Confirmation Date and the Final Decree
Date, unless otherwise ordered by the Bankruptcy Court.

12.4 No Liability for Tax Claims.

Unless a taxing Governmental Authority has asserted a Claim against the Debtors
before the Bar Date or Administrative Claims Bar Date established therefore, no Claim of such
Governmental Authority shall be Allowed against the Debtors for taxes, penalties, interest,
additions to tax or other charges arising out of (i) the failure, if any, of the Debtors, any of its
Affiliates, or any other Person or Entity to have paid any tax due or to have filed any tax return
(including any income, sales or franchise tax return) in or for any tax period ending on or prior to
the Effective Date or (ii) an audit of any tax return of the Debtors for a tax period ending on or
prior to the Effective Date.

ARTICLE 13
RETENTION OF JURISDICTION

13.1. General Retention.

Notwithstanding the entry of the Confirmation Order and the occurrence of the
Effective Date, until the Liquidating Cases are closed, the Bankruptcy Court shall retain the fullest
and most extensive jurisdiction of the Liquidating Cases that is permitted by applicable law,
including that necessary to ensure that the purposes and intent of the Plan are carried out.

13.2 Specific Purposes.

In addition to the general retention of jurisdiction set forth herein, after
Confirmation of the Plan and until the Liquidating Cases are closed, the Bankruptcy Court shall
retain jurisdiction of the Liquidating Cases for the following specific purposes:

13.2.1 To allow, disallow, determine, liquidate, classify, estimate or establish
the priority or secured or unsecured status of any Claim or Equity Interest, including the resolution
of any application for an Administrative Claim or Fee Claim, and to determine any and all
objections to the allowance or priority of Claims or Equity Interests,

13.2.2 To determine any and all Case, controversies, suits or disputes arising
under or relating to the Liquidating Cases, the Plan or the Confirmation Order (including regarding
the effect of any release, discharge, limitation of liability, or injunction provisions provided for

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herein or affected hereby and regarding whether the conditions to the consummation and/or
Effective Date of the Plan have been satisfied);

13.2.3. To determine any and all applications for allowance of compensation of
Professionals and reimbursement of expenses under Section 330, 331 or 503(b) of the Bankruptcy
Code arising out of or relating to the Liquidating Cases; provided, however, that this retention of
jurisdiction shall not require prior Bankruptcy Court approval of the payment of fees and
reimbursement of expenses of Professionals employed by the Debtor after Confirmation of the
Plan unless an objection to such fees and expenses has been made by the Debtor;

13.2.4 To determine any and all motions pending as of the date of the
Confirmation Hearing (including pursuant to the Plan) for the rejection, assumption or assignment
of executory contracts or unexpired leases to which a Debtor or Debtors is a party or with respect
to which a Debtor or Debtors may be liable, and to determine the allowance of any Claims resulting
from the rejection thereof or any amount necessary to cure defaults in any assumed executory
contracts or unexpired leases;

13.2.5 To determine any and all motions, applications, adversary proceedings,
contested or litigated matters, Cause of Action, and any other matters involving the Debtors
commenced in connection with, or arising during, the Liquidating Cases and pending on the
Effective Date, including approval of proposed settlements thereof;

13.2.6 To enforce, interpret and administer the terms and provisions of the Plan
and the Plan Documents;

13.2.7. To modify any provisions of the Plan to the fullest extent permitted by
the Bankruptcy Code and the Bankruptcy Rules,

13.2.8 To consider and act on the compromise and settlement of any Claim
against or Equity Interests in the Debtor or the Estate;

13.2.9 To assure the performance by the Debtors and the Liquidating Trustee of
their obligations under the Plan;

13.2.10 To correct any defect, cure any omission, reconcile any inconsistency or
make any other necessary changes or modifications in or to the Disclosure Statement, the Plan, the
Plan Documents, the Confirmation Order, or any exhibits or schedules to the foregoing, as may be
necessary or appropriate to carry out the purposes and intent of the Plan, including the adjustment
of the date(s) of performance under the Plan in the event the Effective Date does not occur as
provided herein so that the intended effect of the Plan may be substantially realized thereby;

13.2.11 To resolve any disputes concerning any release of or limitation of liability
as to a non-debtor hereunder or the injunction against acts, employment of process or actions
against such non-debtor arising hereunder;

13.2.12 To enforce all orders, judgments, injunctions and rulings entered in
connection with the Liquidating Cases;

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13.2.13 To enter such orders as may be necessary or appropriate to implement or
consummate the provisions of the Plan and all contracts, instruments, releases, indentures and
other agreements or documents created in connection with the Plan, the Disclosure Statement or
the Confirmation Order, including the Plan Documents;

- 13.2.14 To review and approve any sale or transfer of assets or Property by the
Debtors or the Liquidating Trust, including prior to or after the date of the Plan, and to determine
all questions and disputes regarding such sales or transfers;

13.2.15 To determine all questions and disputes regarding title to the assets of the
Debtors, the Estate or the Liquidating Trust;

13.2.16 To determine any motions or contested matters relating to the Causes of
Action, whether brought before or after the Effective Date;

13.2.17 To determine any motions or contested matters involving taxes, tax
refunds, tax attributes, tax benefits and similar or related matters with respect to the Debtors arising
on or prior to the Effective Date or arising on account of transactions contemplated by the Plan;

13.2.18 To resolve any determinations which may be requested by the Debtors or
the Liquidating Trustee of any unpaid or potential tax liability or any matters relating thereto under
Sections 505 and 1146 of the Bankruptcy Code, including tax liability or such related matters for
any taxable year or portion thereof ending on or before the Effective Date;

13.2.19 To issue injunctions, enter and implement other orders or take such other
actions as may be necessary or appropriate to restrain interference by any Person or Entity with
consummation, implementation or enforcement of the Plan or the Confirmation Order;

13.2.20 To enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason modified, stayed, reversed, revoked or vacated;

13.2.21 To determine any other matters that may arise in connection with or
relating to the Plan, the Disclosure Statement, the Confirmation Order or the Plan Documents;

13.2.22 To enter such orders as are necessary to implement and enforce the
injunctions described herein;

13.2.23 To enforce the obligations of any purchaser of any assets of the Debtors;

13.2.24 To determine such other matters and for such other purposes as may be
provided for in the Confirmation Order or as may from time to time be authorized under the
provisions of the Bankruptcy Code or any other applicable law; and

13.2.25 To enter an order (or orders) concluding and terminating the Liquidating
Cases.

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13.3. Closing of the Chapter 11 Case.

In addition to the retention of jurisdiction set forth in Article 13, the Bankruptcy
Court shall retain jurisdiction of the Liquidating Cases to enter an order reopening the Liquidating
Cases after it has closed.

ARTICLE 14
MODIFICATION OF PLAN AND CONFIRMATION OVER
OBJECTIONS

14.1 Modification of Plan.

14.1.1 The Debtors may modify the Plan at any time prior to the entry of the
Confirmation Order provided that the Plan, as modified, and the Disclosure Statement meet
applicable Bankruptcy Code and Bankruptcy Rules requirements.

14.1.2 After the entry of the Confirmation Order, the Debtors (prior to the
Effective Date) or the Liquidating Trustee (on or after the Effective Date) may modify the Plan to
remedy any defect or omission or to reconcile any inconsistencies in the Plan or in the
Confirmation Order, as may be necessary to carry out the purposes and effects of the Plan, provided
that (a) the Debtors or the Liquidating Trustee (as the case may be) obtains Bankruptcy Court
approval for such modification, after notice to the Master Service List and a hearing, and (b) such
modification does not materially adversely affect the interests, rights, or treatment of any Class of
Claims or Equity Interests under the Plan.

14.1.3. After the Confirmation Date and before substantial consummation of the
Plan, the Debtors (prior to the Effective Date) or the Liquidating Trustee (on or after the Effective
Date) may modify the Plan in a way that materially adversely affects the interests, rights, or
treatment of a Class of Claims or Equity Interests, provided that (a) the Plan, as modified, meets
applicable Bankruptcy Code requirements; (b) the Debtors or the Liquidating Trustee (as the case
may be) obtains Bankruptcy Court approval for such modification, after notice to the Master
Service List and a hearing; (c) such modification is accepted by at least two-thirds in dollar amount,
and more than one-half in number, of Allowed Claims or by at least two-thirds in amount of
Allowed Equity Interests voting in each Class adversely affected by such modification; and (d) the
Debtors or the Liquidating Trustee (as the case may be) complies with Section 1125 of the
Bankruptcy Code with respect to the Plan, as modified.

14.1.4 Notwithstanding anything to the contrary contained in this Article 14 or
elsewhere in the Plan, the Plan may not be altered, amended or modified without the written
consent of the Debtors (prior to the Effective Date) or the Liquidating Trustee (on or after the
Effective Date). .

14.2 Confirmation Over Objections.

In the event any Impaired Class of Claims or Equity Interests votes against the Plan,
and the Plan is not revoked or withdrawn, the Debtors hereby request, and shall be allowed, to
modify the terms of the Plan to effect a “cramdown” on such dissenting Class including by (a)
restructuring the treatment of any Class on terms consistent with Section 1129(b)(2)(B) of the

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Bankruptcy Code, or (b) deleting distributions to all Classes at or below the level of the objecting
Class, or reallocating such distributions, until such impaired senior Classes are paid in accordance
with the absolute priority rule of Section 1129(b) of the Bankruptey Code. The Debtors may make
such modifications or amendments to the Plan and such modifications or amendments shall be
filed with the Bankruptcy Court and served on all parties in interest entitled to receive notice prior
to the Confirmation Hearing. No such modifications shall require any resolicitation of acceptances
as to the Plan by any Class of Claims or Equity Interests unless the Bankruptcy Court shall require
otherwise. Notwithstanding any provision of the Plan to the contrary, the Debtors reserve any and
all rights they may have to challenge the validity, perfection, priority, scope and extent of any
Liens in respect to any Secured Claims and the amount of any Secured Claims, the Holders of
which have not accepted the Plan.

ARTICLE 15
MISCELLANEOUS PROVISIONS

15.1 No Admissions.

The Plan provides for the resolution, settlement and compromise of Claims against
and Equity Interests in the Debtors. Nothing herein shall be construed to be an admission of any
fact or otherwise binding upon the Debtors in any manner prior to the Effective Date.

15.2 Revocation or Withdrawal of the Plan.

The Debtors reserve the right to revoke or withdraw the Plan prior to the
Confirmation Date. If the Debtors revoke or withdraw the Plan, or if Confirmation of the Plan
does not occur, then the Plan shall be deemed null and void in all respects and nothing contained
in the Plan shall be deemed to (a) constitute a waiver or release of any Claims against, or Equity
Interests in, the Debtors or any other Person, or (b) prejudice in any manner the rights of the
Debtors or any other Person in any further proceedings involving the Debtors.

15.3. Standard for Approval of the Bankruptcy Court.

In the event any of the matters described herein are brought for approval before the
Bankruptcy Court, then any such approval shall mean the entry of an order by the Bankruptcy
Court approving the matter using the standards for approval of similar matters by a Chapter 11
debtor in possession.

15.4 Further Assurances.

The Debtors and the Liquidating Trustee are hereby authorized to execute and
deliver any and all papers, documents, contracts, agreements and instruments which may be
necessary to carry out and implement the terms and conditions of the Plan and the Confirmation
Order.

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15.5

Headings.

The headings and table of contents used in the Plan are for convenience and

reference only and shall not constitute a part of the Plan for any other purpose or in any manner
affect the construction of the provisions of the Plan. ,

15.6 Notices.

All notices, requests or other documents in connection with, or required

to be served by, the Plan shall be in writing and shall be sent by first class United States mail,
postage prepaid, or by overnight delivery by a recognized courier service, to:

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If to the Debtors:

Williams Financial Group, Inc.,
WFG Management Services, Inc.,
WEG Investments, Inc., and
WEG Advisors, LP

ATIN: David Williams

2711 N. Haskell Ave. Suite 2900
Dailas, TX 75204

with a mandatory copy to counsel for the Debtors:

AKERMAN LLP

David W. Parham, SBN: 15459500

John E. Mitchell, SBN: 00797095

Scott Lawrence, SBN: 24087896

2001 Ross Avenue, Suite 3600

Dallas, TX 75201

Telephone: (214) 720-4300

Facsimile: (214) 981-9339

david.parham@akerman.com

john.mitchell@akerman.com

scott. lawrence@akerman.com
-and-

Esther A. McKean (Admitted Pro Hac Vice)

Florida Bar No. 28124

Post Office Box 231

Orlando, FL 32802-0231

Phone: (407) 423-4000

Fax: (407) 843-6610

esther.mckean@akerman.com

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with a mandatory copy to Liquidating Trustee(s):

15.6.2 Copies of all notices under the Plan to any party shall be given to the
Debtors contemporaneously with the giving of notice to such party.

15.6.3. Any Entity may change the person or address to whom or to which notices
are to be given hereunder by filing a written instrument to that effect with the Bankruptcy Court
and serving same on the parties set forth in Article 15.6.1 above.

15.6.4 Notwithstanding anything to the contrary contained in the Plan, no notice
shall be required hereunder to the Debtors if they are no longer in existence.

15.7 Governing Law.

Except to the extent that federal law (including the Bankruptcy Code or the
Bankruptcy Rules) is applicable, or where the Plan or the provision of any contract, instrument,
release, indenture or other agreement or document entered into in connection with the Plan
provides otherwise, the rights and obligations arising under the Plan shall be governed by, and
construed and enforced in accordance with, the laws of the State of Texas, without giving effect
to the principles of conflicts of law thereof

15.8 Limitation on Allowance.

No attorneys’ fees, punitive damages, penalties, exemplary damages, or interest
shall be paid with respect to any Claim or Equity Interest except as otherwise specified in the Plan
or as Allowed by a Final Order of the Bankruptcy Court.

15.9 Estimated Claims.

To the extent any Claim is estimated for any purpose other than for voting on the
Plan, then in no event shall such Claim be Allowed in an amount greater than the estimated amount.

15.10 Consent to Jurisdiction.

Upon any default under the Plan, the Debtors consent to the jurisdiction of the
Bankruptcy Court, or any successor thereto, and agree that it shall be the preferred forum for all
proceedings relating to any such default.

By accepting any distribution or payment under or in connection with the Plan, by
filing any Proof of Claim, by filing any Administrative Claim or Fee Claim, by voting on the Plan,
or by entering an appearance in the Liquidating Cases, all Creditors, Holders of Equity Interests

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and other parties in interest, including foreign Creditors and foreign parties in interest, have
consented, and shall be deemed to have expressly consented, to the jurisdiction of the Bankruptcy
Court for all purposes with respect to any and all matters relating to, arising under or in connection
with the Plan or the Chapter 11 Case, including the matters and purposes set forth in Article 12 of
the Plan. The Bankruptcy Court shall maintain jurisdiction to the fullest extent allowed under
applicable law over all matters set forth in Article 12 of the Plan.

15.11 Setoffs.

Subject to the limitations provided in Section 553 of the Bankruptcy Code, the
Liquidating Trustee may, but shall not be required to, set off against any Claim and the payments
or other distributions to be made pursuant to the Plan in respect of such Claim, claims of any nature
whatsoever the Debtors or the Liquidating Trustee may have against the Holder of such Claim, but
neither the failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or
release by the Liquidating Trustee of any such claim that the Debtors or the Liquidating Trustee
may have against the Holder of such Claim.

15.12 Successors and Assigns.

The rights, benefits, duties and obligations of any Person or Entity named or
referred to in the Plan shall be binding upon, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign of such Person or Entity.

15.13 Modification of Payment Terms.

The Liquidating Trustee reserves the right to modify the treatment of any Allowed
Claim, as provided in Section 1123(a)(4) of the Bankruptcy Code, at any time after the Effective
Date, upon the consent of the Holder of such Allowed Claim.

15.14 Entire Agreement.

The Plan and the Plan Documents set forth the entire agreement and undertakings
relating to the subject matter thereof and supersede all prior discussions and documents. No Person
or Entity shall be bound by any terms, conditions, definitions, warranties, understandings, or
representations with respect to the subject matter hereof, other than as expressly provided for
herein or as may hereafter be agreed to by such Person or Entity in writing.

15.15 Severability of Plan Provisions.

If, prior to Confirmation of the Plan, any term or provision of the Plan is held by
the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court, at the request of
the Debtors, shall have the power to alter or interpret such term or provision to make it valid or
enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void or unenforceable, and such term or provision shall then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration or interpretation,
the remainder of the terms and provisions of the Plan will remain in full force and effect and will
in no way be affected, impaired or invalidated by such holding, alteration or interpretation. The
Confirmation Order shall constitute a judicial determination and shall provide that each term or

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provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing,
is valid and enforceable.

15.16 Confirmation Order and Plan Control.

To the extent the Confirmation Order or the Plan is inconsistent with the Disclosure
Statement or any agreement entered into between the Debtors and any third party, unless otherwise
expressly provided in the Plan or the Confirmation Order, the Plan controls over the Disclosure
Statement and any such agreement, and the Confirmation Order (and any other Final Orders of the
Bankruptcy Court) shall control over the Plan.

15.17 Plan Documents.

The Plan Documents, if any, shall be filed with the Bankruptey Court, however,
that the Debtors may amend the Plan Documents through and including the Confirmation Date.
Upon their filing with the Bankruptcy Court, the Plan Documents may be inspected in the Clerk's
Office during normal business hours, may be obtained from the Bankruptcy Court's copying
service upon the payment of the appropriate charges, or may be obtained from the Debtors’
counsel.

15.18 Computation of Time.

In computing any period of time prescribed or allowed by the Plan, the provisions
of Bankruptcy Rule 9006(a) shall apply.-

15.19 Substantial Consummation.

The Plan shall be deemed to be substantially consummated within the meaning of
Section 1101 of the Bankruptcy Code upon commencement by the Debtors of the distributions
required under the Plan.

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Dated as of March 21, 2018

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By:

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WFG MAN. ENT SERVICES, INC.
By:

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